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 6                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 7
     LORETTA BENSEN, individually and on
 8   behalf of all others similarly situated,            Case No.
 9
                              Plaintiff,                 COMPLAINT–CLASS ACTION
10
                    v.                                   JURY TRIAL DEMANDED
11
     PEOPLECONNECT, INC. and CLASSMATES
12   MEDIA CORPORATION,
13
                    Defendants.
14

15          Plaintiff Loretta Bensen (“Plaintiff”) brings this action on behalf of herself and all others

16   similarly situated against Defendant PeopleConnect, Inc. and Defendant Classmates Media

17   Corporation (collectively “Classmates” or “Defendants”). Plaintiff makes the following

18   allegations pursuant to the investigation of her counsel and based upon information and belief,

19   except as to the allegations specifically pertaining to herself, which are based on personal

20   knowledge.

21                                         NATURE OF ACTION

22          1.      Plaintiff brings this class action complaint against Defendants for willfully

23   misappropriating the photographs, likenesses, images, and names of Plaintiff and the class;

24   willfully using those photographs, likenesses, images, and names for the commercial purpose of

25   selling access to them in Defendants’ products and services; and willfully using those

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 1   photographs, likenesses, images, and names to advertise, sell, and solicit purchases of
 2   Defendants’ services and products; without obtaining prior consent from Plaintiff and the Class.
 3          2.      Defendants’ business model relies on extracting personal information from school
 4   yearbooks, including names, photographs, schools attended, and other biographical information.
 5   Defendants aggregate the extracted information into digital records that identify specific
 6   individuals by name, photograph, and other personal information, and stores those digital records
 7   in a massive online database. Defendants provide free access to some of the personal
 8   information in its database to drive users to purchase its two paid products—reprinted yearbooks
 9   that retail for up to $99.95, and a monthly subscription to Classmates.com that retails for
10   approximately $3 per month—and to get page views from non-paying users, from which
11   Defendants profit by selling ad space on their website.
12          3.      Defendants sells their products on their website: www.classmates.com.
13          4.      Upon accessing Classmates’ website, the public-at-large is free to enter the
14   information of a particular school.
15          5.      After entering this information, any public user of Classmates’ website is
16   provided with a listing of search results. Each search result corresponds to a school for which
17   Classmates sells its yearbook service.
18          6.      These search results provide a limited, free preview of Defendants’ service. This
19   free preview includes Plaintiff’s name and photo.
20          7.      Classmates’ free preview provides enough information to identify an individual.
21          8.      The purpose behind Classmates’ free preview is singular: to entice users to
22   purchase Defendants’ services. These enticements are clear in Defendants’ advertisements.
23          9.      When a user selects “Upgrade Your Membership” (while names and photographs
24   of Plaintiff and the putative class are prominently displayed), users are given an offer to sign up
25

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 1   for Classmates’ monthly subscription service whereby a user is able to “keep in touch” with
 2   other classmates.
 3          10.     Defendants thus uses the identities of Plaintiff and the putative class to market
 4   their completely unrelated subscription services.
 5          11.     Defendants most popular monthly subscription costs $3 per month.
 6          12.     Ohio’s Right of Publicity law states that: “a person shall not use any aspect of an
 7   individual’s persona for a commercial purpose.” OH ST § 2741.02(A).
 8          13.     Neither Plaintiff nor class members provided Defendants with consent to use their
 9   identities in Defendants’ advertisements. As detailed above, Defendants use class members’
10   identities to advertise their for-profit services. Thus, Defendants violate OH ST § 2741, et seq.
11          14.     It would be simple for Defendants to maintain their business model while still
12   complying with state law. For example, Defendants could sell yearbooks without using
13   Plaintiff’s or class members’ identities to advertise their subscription service.
14                                                PARTIES
15          15.     Plaintiff Loretta Bensen is a citizen of Ohio who resides in Ashtabula, Ohio.
16          16.     Defendant Classmates Media Corporation is a Delaware corporation with its
17   headquarters in Seattle, Washington.
18          17.     Defendant PeopleConnect, Inc. is a Delaware corporation with its principal place
19   of business located in Seattle, Washington. Defendant PeopleConnect, Inc. is the parent
20   company of Defendant Classmates Media Corporation.
21                                    JURISDICTION AND VENUE
22          18.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)
23   because this case is a class action where the aggregate claims of all members of the proposed
24   class are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiff, together with
25   most members of the proposed class, are citizens of states different from Defendants.
26


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 1           19.     This court has specific personal jurisdiction over Defendants because a substantial
 2   portion of the events giving rise to the cause of action occurred within this District at
 3   Defendants’ headquarters.
 4           20.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action
 5   because a substantial part of the events, omissions, and acts giving rise to the claims herein
 6   occurred in this District.
 7                         FACTS COMMON TO ALL CAUSES OF ACTION
 8           21.     Plaintiff discovered that Defendants use her name and photo in advertisements on
 9   the Classmates website to advertise and/or actually sell Defendants’ products and services. 1
10           22.     Plaintiff believes that it is reasonable for others to identify her because
11   Defendants’ advertisements include accurate details about her as well as her photograph.
12           23.     Plaintiff never provided Defendants with consent to use any attribute of her
13   identity in any advertisement or for any commercial purposes.
14           24.     Plaintiff is not and has never been a Classmates customer. She has no
15   relationship with Defendants whatsoever.
16           25.     Plaintiff has never even visited Defendants’ website.
17           26.     As the subject of a commercial transaction, Plaintiff’s personal identifiable
18   information disclosed by Defendants has commercial value. These aspects of Plaintiff’s identity
19   are valuable to online advertisers among others.
20           27.     Plaintiff has not been compensated by Defendants in any way for their use of her
21   identity.
22

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       Plaintiff’s attorneys, who investigated Defendants’ website as part of their obligations under FRCP 11,
25
     timely opted out of Defendants’ arbitration agreements. In any event, Plaintiff’s retention agreement
26   expressly precludes Plaintiff’s attorneys from agreeing to arbitrate claims on her behalf.



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 1                            CLASS REPRESENTATION ALLEGATIONS
 2          28.     Plaintiff seeks to represent a class defined as all Ohio residents who have
 3   appeared in an advertisement preview for a Classmates product (the “Class”).
 4          29.     Members of the Class are so numerous that their individual joinder herein is
 5   impracticable. On information and belief, members of the Class number in the millions. The
 6   precise number of Class members and their identities are unknown to Plaintiff at this time but
 7   may be determined through discovery. Class members may be notified of the pendency of this
 8   action by mail and/or publication through the distribution records of Defendants and third-party
 9   retailers and vendors.
10          30.     Common questions of law and fact exist as to all Class members and predominate
11   over questions affecting only individual Class members. Common legal and factual questions
12   include, but are not limited to:
13                  a.        Whether Defendants’ use Class members’ names and identities in
14                            advertisements for their own commercial benefit;
15                  b.        Whether the conduct described herein constitutes a violation of OH ST
16                            § 2741, et seq.;
17                  c.        Whether Plaintiff and the Class are entitled to injunctive relief; and
18                  d.        Whether Defendants violated the privacy of members of the class.
19          31.     The claims of the named Plaintiff are typical of the claims of the Class.
20          32.     Plaintiff is an adequate representative of the Class because her interests do not
21   conflict with the interests of the Class members they seek to represent, she has retained
22   competent counsel experienced in prosecuting class actions, and she intends to prosecute this
23   action vigorously. The interests of Class members will be fairly and adequately protected by
24   Plaintiff and her counsel.
25

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 1            33.   The class mechanism is superior to other available means for the fair and efficient
 2   adjudication of the claims of the Class. Each individual Class member may lack the resources to
 3   undergo the burden and expense of individual prosecution of the complex and extensive
 4   litigation necessary to establish Defendants’ liability. Individualized litigation increases the
 5   delay and expense to all parties and multiplies the burden on the judicial system presented by the
 6   complex legal and factual issues of this case. Individualized litigation also presents a potential
 7   for inconsistent or contradictory judgments. In contrast, the class action device presents far
 8   fewer management difficulties and provides the benefits of single adjudication, economy of
 9   scale, and comprehensive supervision by a single court on the issue of Defendants’ liability.
10   Class treatment of the liability issues will ensure that all claims and claimants are before this
11   Court for consistent adjudication of the liability issues. Defendants have acted or refused to act
12   on grounds that apply generally to the class, so that final injunctive relief or corresponding
13   declaratory relief is appropriate respecting the class as a whole.
14                                               COUNT I
                                   Violation of Ohio’s Right of Publicity
15
                                           OH ST § 2741, et seq.
16            34.   Plaintiff incorporates by reference and re-alleges herein all paragraphs alleged
17   above.
18            35.   Plaintiff brings this claim individually and on behalf of the members of the Class.
19            36.   Ohio Revised Code Sec. 2741.01, et. seq., prohibits using an individual’s name
20   for advertising or soliciting the purchase of products or services without written consent.
21            37.   As described above, Defendants used Plaintiff’s and the putative class members’
22   names and likenesses for the purpose of advertising or promoting its products without written
23   consent.
24            38.   The aspects of Plaintiff’s persona that Defendants use to advertise their products
25   has commercial value.
26


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 1          39.       Plaintiff is domiciled and suffered her injury in Ohio.
 2          40.       Defendants had knowledge that Plaintiff’s persona was being used in an
 3   advertisement without authorization.
 4          41.       Defendants intended for Plaintiff’s persona to be used in an advertisement without
 5   authorization.
 6          42.       Based upon Defendants’ violation of Ohio Revised Code Sec. 2741.01, et. seq.,
 7   Plaintiff and class members are entitled to (1) an injunction requiring Defendants to cease using
 8   Plaintiff’s and members of the Class’s names and any attributes of their identities to advertise its
 9   products and services, (2) statutory damages in the amount of between $2,500 and $10,000 per
10   violation to the members of the Class, (3) an award of punitive damages or exemplary damages,
11   and (4) an award of reasonable attorney’s fees, court costs, and reasonable expenses under OH
12   ST § 2741.07.
13                                         PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
15   judgment against Defendants, as follows:
16                    a.     For an order certifying the Class under Rule 23 of the Federal Rules of
17                           Civil Procedure and naming Plaintiff as the representative of the Class and
18                           Plaintiff’s attorneys as Class Counsel to represent members of the Class;
19                    b.     For an order declaring the Defendants’ conduct violates the statutes
20                           referenced herein;
21                    c.     For an order finding in favor of Plaintiff and the Class on all counts
22                           asserted herein;
23                    d.     For compensatory, statutory, and punitive damages in amounts to be
24                           determined by the Court and/or jury;
25                    e.     For prejudgment interest on all amounts awarded;
26


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 1                 f.      For an order of restitution and all other forms of equitable monetary relief;
 2                 g.      For all injunctive relief the court finds appropriate; and
 3                 h.      For an order awarding Plaintiff and the Class their reasonable attorneys’
 4                         fees and expenses and costs of suit.
 5                                 DEMAND FOR TRIAL BY JURY
 6         Plaintiff demands a trial by jury of all issues so triable.
 7

 8   Dated: August 29, 2022
                                                   TOUSLEY BRAIN STEPHENS PLLC
 9
                                                   By: s/ Cecily C. Jordan
10                                                 Cecily C. Jordan, WSBA #50061
11                                                 1200 Fifth Avenue, Suite 1700
                                                   Seattle, WA 98101-3147
12                                                 Tel: (206) 682-5600/Fax: (206) 682-2992
                                                   cjordan@tousley.com
13
                                                   BURSOR & FISHER, P.A.
14                                                 Philip L. Fraietta (Pro Hac Vice Forthcoming)
15                                                 Julian C. Diamond (Pro Hac Vice Forthcoming)
                                                   888 Seventh Avenue
16                                                 New York, NY 10019
                                                   Telephone: (646) 837-7150
17                                                 Facsimile: (212) 989-9163
                                                   E-Mail: pfraietta@bursor.com
18                                                         jdiamond@bursor.com
19                                                 Attorneys for Plaintiff
20

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                                                                               TOUSLEY BRAIN STEPHENS PLLC
                                                                                 1200 Fifth Avenue, Suite 1700
     CLASS ACTION COMPLAINT - 8                                                    Seattle, Washington 98101
                                                                             TEL. 206.682.5600 • FAX 206.682.2992
